                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

      v.
                                                              Case No. 18-CR-154

VAN L. MAYES,

                    Defendant.


    THE UNITED STATES’ RESPONSE TO THE DEFENDANT’S MOTION TO
                 COMPEL UN-REDACTED DISCOVERY


      The United States has met all of its discovery obligations and followed the normal

redaction process. The United States redacted the identifying information of certain

witnesses and innocent parties because Van Mayes has repeatedly intimidated and

interfered with witnesses and abused the trust of children who he mentored when he

encouraged them to attack police and taught them how to make Molotov cocktails.

Importantly, a grand jury indicted Mayes with a conspiracy to intimidate, threaten, and

corruptly persuade witnesses. The government redacted witness’ names because they are

protected as confidential informants and there are significant safety concerns.

      Nonetheless, the United States, as requested by the defendant in Dkt. #72, will

provide discovery with only the names and addresses of witnesses redacted.


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Dated at Milwaukee, Wisconsin, this 26th day of June, 2020.


                                        Respectfully submitted,

                                        MATTHEW D. KRUEGER
                                        United States Attorney

                                 By:    /s/ Christopher J. Ladwig

                                        CHRISTOPHER J. LADWIG
                                        Assistant United States Attorney
                                        Attorney for Plaintiff
                                        Office of the United States Attorney
                                        Eastern District of Wisconsin
                                        517 East Wisconsin Avenue, Room 530
                                        Milwaukee, WI 53202
                                        Telephone: (414) 297-4103
                                        Fax: (414) 297-1738




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